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                  Exhibit I
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


     AMERICAN COLLEGE OF
     OBSTETRICIANS AND
     GYNECOLOGISTS, on behalf of its members
     and members’ patients; COUNCIL OF        CIV. NO.
     UNIVERSITY CHAIRS OF OBSTETRICS
     AND GYNECOLOGY, on behalf of its
     members and members’ patients; NEW       [CIVIL RIGHTS ACTION]
     YORK STATE ACADEMY OF FAMILY
     PHYSICIANS, on behalf of its members and
     members’ patients; SISTERSONG WOMEN
     OF COLOR REPRODUCTIVE JUSTICE
     COLLECTIVE, on behalf of its members and
     members’ patients; and HONOR
     MACNAUGHTON, M.D.,
                         Plaintiffs,
                                                                COMPLAINT

     vs.


     UNITED STATES FOOD AND DRUG
     ADMINISTRATION; STEPHEN M. HAHN,
     M.D., in his official capacity as
     COMMISSIONER OF FOOD AND DRUGS,
     and his employees, agents and successors in
     office; UNITED STATES DEPARTMENT
     OF HEALTH AND HUMAN SERVICES;
     and ALEX AZAR, J.D., in his official
     capacity as SECRETARY, UNITED STATES
     DEPARTMENT OF HEALTH AND
     HUMAN SERVICES, and his employees,
     agents and successors in office;
     Defendants.




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                                        INTRODUCTION

       1.       COVID-19, the disease caused by novel coronavirus SARS-CoV-2, has swept the

globe in a pandemic that has upended normal life. In the four months since the first U.S. case was

reported, more than 1.5 million people have been infected and 100,000 people have died in the

United States alone. The pandemic has been particularly devastating in low-income communities

and communities of color, where it is disproportionately severe and fatal.

       2.       Because the virus is highly contagious and can be transmitted by people who are

asymptomatic, and because there is no vaccine, the principal way to slow transmission and reduce

the death rate is by limiting physical interactions.

       3.       To protect both patients and clinicians, there has been a massive, nationwide effort

to meet patients’ medical needs without unnecessary travel and in-person interactions that facilitate

viral spread. In particular, clinicians in virtually every area of health care are relying on

telemedicine: the use of technology to connect patients with clinicians who are not in the same

physical location.

       4.       The U.S. Centers for Disease Control and Prevention (“CDC”) within Defendant

U.S. Department of Health and Human Services (“HHS”) have issued guidance to health care

professionals that “[l]everaging telemedicine whenever possible is the best way to protect patients

and staff from COVID-19.” Accordingly, Defendants HHS and U.S. Food and Drug

Administration (“FDA”) have taken substantial action both to encourage telemedicine use and to

give clinicians the flexibility—even for highly regulated drugs—to allow their patients to forgo

unnecessary in-person visits where appropriate in the clinician’s medical judgment.

       5.       But there is a striking exception. Defendants continue to subject mifepristone

(brand name Mifeprex®), one of two FDA-approved prescription drugs used in combination to




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end an early pregnancy or to manage a miscarriage, to a Risk Evaluation and Mitigation Strategy

(“REMS”) that mandates unnecessary travel and personal interactions, jeopardizing the health and

lives of patients and clinicians.

        6.       Specifically, Defendants require patients to travel to their clinician’s hospital,

clinic, or medical office to pick up the pill (“Mifepristone In-Person Dispensing Requirement” or

“Requirement”). Patients who have already been evaluated by a clinician through telemedicine or

at a prior in-person visit are not allowed to fill their mifepristone prescription by mail: they still

must travel to one of these clinical settings to pick up the pill, even if they will be receiving no in-

person medical services at that time.

        7.       Defendants require patients to obtain mifepristone only in these clinical settings

even though the FDA permits patients to swallow the pill later at home without clinical

supervision. Of the more than 20,000 drugs regulated by the FDA, mifepristone is the only one

that patients must receive in person at a hospital, clinic, or medical office, yet may self-administer,

unsupervised, at a location of their choosing.

        8.       Moreover, when not used for abortion or miscarriage, the FDA authorizes mailing

the identical chemical compound to patients’ homes in higher doses and much larger quantities.

        9.       If not for this restriction, patients seeking abortion or miscarriage care who have

obtained a prescription for mifepristone based on a telemedicine consultation or prior in-person

visit could obtain the medication safely by mail without facing needless SARS-CoV-2 exposure.

The CDC, a component agency of Defendant HHS, has specifically advised patients to obtain

medications via telehealth and mail-order delivery wherever possible to mitigate exposure risks.

        10.      In response to the public health emergency, Defendants have waived enforcement

of other REMS requirements necessitating in-person visits, such as those requiring laboratory




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testing or magnetic resonance imaging (“MRIs”) before prescription, and partnered with other

federal agencies to suspend rules requiring in-person visits before prescribing controlled

substances. Leading medical and public health experts, including Plaintiffs American College of

Obstetricians and Gynecologists and New York State Academy of Family Physicians, have

petitioned the FDA to similarly lift the Mifepristone In-Person Dispensing Requirement during the

pandemic, and thereby afford mifepristone prescribers the flexibility to forgo medically

unnecessary in-person visits, consistent with their best clinical judgment, during this crisis.

       11.     Despite this national medical consensus, Defendants have maintained the

Requirement during the pandemic, forcing patients to put themselves at increased risk of

contracting COVID-19 as a condition of obtaining abortion or miscarriage care and needlessly

raising exposure risks for clinicians and other health care staff.

       12.     Because of this medically unnecessary requirement, patients seeking abortion or

miscarriage care during the pandemic must bear the infection risks associated with travel,

childcare, and physical interactions at a hospital, clinic, or medical office.

       13.     For the majority of abortion patients who are low-income, paying for an abortion

and arranging transportation and childcare to obtain care is already very difficult. The need to raise

funds for and arrange such travel and logistics has long been shown to delay access to time-

sensitive abortion care even under normal circumstances. During a historic unemployment crisis,

when many schools and daycares are closed because of the life-threatening risks associated with

physical interactions, such patients are even more likely to suffer delays that will push some to the

point in pregnancy when medication abortion is no longer available and an in-office procedural

abortion is the only option. This, too, unnecessarily increases medical risks: the more time spent

inside a health care facility and the more individuals with whom a patient interacts, the greater the




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risk of SARS-CoV-2 exposure.

       14.     Similarly, the Requirement forces some patients suffering a miscarriage to choose

between subjecting themselves to a heightened risk of COVID-19 in order to obtain mifepristone,

or using an inferior treatment regimen that is less likely to effectively complete the miscarriage,

necessitating a subsequent in-office procedure that, in turn, raises exposure risks.

       15.     By making life-threatening viral exposure risks a condition of treatment for

medication abortion and miscarriage care, the FDA’s continued maintenance of the Mifepristone

In-Person Dispensing Requirement jeopardizes the safety of patients, clinicians, and the public at

large, with no countervailing benefit—and with particularly severe implications for low-income

people and people of color, who comprise a disproportionate share of impacted patients and who

are already suffering and dying from COVID-19 at substantially higher rates.

                       SUBJECT MATTER JURISDICTION & VENUE

       16.     The Court has subject matter jurisdiction over Plaintiffs’ claims under Article III of

the Constitution, 28 U.S.C. § 1331, and 28 U.S.C. § 1346. An actual and justiciable controversy

exists between the parties within the meaning of 28 U.S.C. § 2201(a), and this Court may grant

declaratory relief, injunctive relief, and other relief pursuant to 28 U.S.C. §§ 2201-2202 and the

Court’s inherent equitable powers. Plaintiffs have no adequate remedy at law.

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e)(1) because this is a

judicial district in which Defendants FDA and Commissioner Hahn reside and this action seeks

relief against federal agencies and officials acting in their official capacities; and because a

substantial part of the events and omissions giving rise to this action occurred in this district.




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                                           PARTIES

                                           Plaintiffs

       18.    Plaintiff the American College of Obstetricians and Gynecologists (“ACOG”) is

the nation’s premier professional membership organization for obstetrician-gynecologists,

representing more than 60,000 members across every state, who in turn treat tens of millions of

patients across the United States. ACOG is headquartered at 409 12th Street SW, Washington,

D.C. 20024-2188.

       19.    ACOG supports its members in numerous ways, including producing practice

guidelines, providing practice management and career support, facilitating programs and

initiatives aimed at improving women’s health, and advocating on behalf of members and patients

on matters pertaining to the provision of reproductive health care. ACOG Fellows are board-

certified obstetrician-gynecologists whose professional activities are devoted to the practice of

obstetrics and/or gynecology, who possess unrestricted licenses to practice medicine, and who

have attained high ethical and professional standing. ACOG members also include physicians in

other specialties and allied health professionals who meet certain educational and professional

criteria and can contribute to ACOG’s mission and programming. ACOG’s members include

physicians and other clinicians who are certified under the mifepristone REMS and who prescribe

mifepristone for abortion and miscarriage care.

       20.    As described infra, the Mifepristone In-Person Dispensing Requirement impedes

ACOG’s members’ ability to reduce risks of exposure to SARS-CoV-2 for themselves, their staff,

and their patients in accordance with their professional judgment, and imposes unnecessary

medical risks and other harms on ACOG’s members and their patients during the COVID-19

pandemic. ACOG sues on behalf of its members and its members’ patients.




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       21.     For instance, ACOG member Angela Chen, M.D., M.P.H., FACOG, is a certified

mifepristone prescriber under the REMS who prescribes mifepristone for both abortion and

miscarriage care to her patients at a faculty practice affiliated with the department of obstetrics and

gynecology at the University of California, Los Angeles, Medical Center, and at an outpatient

clinic where she supervises and trains residents. Because of the Mifepristone In-Person Dispensing

Requirement, some of Dr. Chen’s patients seeking abortion and miscarriage care must travel

unnecessarily to her health care facility to obtain the mifepristone pill, even when they will be

receiving no in-person medical services at that time. The Requirement subjects Dr. Chen and her

patients to needless viral exposure risks and other harms, and impedes her from exercising her

clinical judgment during the COVID-19 pandemic. If not for the Requirement, some of Dr. Chen’s

patients could and would obtain mifepristone by mail, without having to make a medically

unnecessary trip to her health care facility.

       22.     Plaintiff the Council of University Chairs of Obstetrics and Gynecology

(“CUCOG”) is a nationwide membership association promoting excellence in medical education

in the fields of obstetrics and gynecology. CUCOG has 146 members representing the departments

of obstetrics and gynecology within or affiliated with schools of medicine in 48 states, the District

of Columbia, Puerto Rico, and Canada, with the department chair as the acting liaison. CUCOG

convenes university chairs of obstetrics and gynecology in order to support the major missions of

academic medicine: the provision of high-quality, safe, effective, and compassionate clinical care,

including reproductive health care, in academic settings; the provision of high-quality medical

education; and the cultivation of useful, reliable research. In addition, CUCOG provides a

leadership learning community for chairs and aspiring chairs. CUCOG’s members include

physicians who are certified under the mifepristone REMS and who prescribe mifepristone for




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abortion and miscarriage care. CUCOG is headquartered at 230 W. Monroe, Suite 710, Chicago,

Illinois 60606.

        23.       As described infra, the Mifepristone In-Person Dispensing Requirement impedes

CUCOG’s members’ ability to reduce risks of exposure to SARS-CoV-2 for themselves, their

staff, and their patients in accordance with their professional judgment, and imposes unnecessary

medical risks and other harms on CUCOG’s members and their patients during the COVID-19

pandemic. The Requirement also infringes CUCOG’s members’ clinical and professional

discretion to adopt policies for their departments that minimize viral exposure risks for patients,

physicians, other clinicians, residents, medical students, and staff. CUCOG sues on behalf of its

members and its members’ patients.

        24.       For instance, CUCOG member and officer Eve Espey, M.D., M.P.H., FACOG, is

a certified mifepristone prescriber under the REMS who prescribes mifepristone for both abortion

and miscarriage care to her patients at the University of New Mexico, where Dr. Espey is the chair

of the department of obstetrics and gynecology. Many of her patients seeking abortion and

miscarriage care are low-income people of color, including a significant Native population, and

many live in rural areas. Because of the Mifepristone In-Person Dispensing Requirement, some of

Dr. Espey’s patients must travel unnecessarily to her health care facility to obtain the mifepristone

pill, even when they will be receiving no in-person medical services at that time. The Requirement

subjects Dr. Espey, her patients, and the other clinicians and staff in her department, to needless

viral exposure risks and other harms, and impedes her from exercising her clinical judgment during

the COVID-19 pandemic. If not for the Requirement, some of Dr. Espey’s patients could and

would obtain mifepristone by mail, without having to make a medically unnecessary trip to her

health care facility.




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       25.    Plaintiff New York State Academy of Family Physicians (“NYSAFP”), the New

York State Chapter of the American Academy of Family Physicians, is a non-profit advocacy

organization representing family medicine and family practice physicians throughout New York

State in areas of policy, education, clinical and leadership development, and patient engagement,

with the goal of improving the quality of family medicine. NYSAFP has over 3,000 practicing

physician members and over 500 medical resident members, collectively serving millions of

patients. Members practice in almost every county in New York State, in practice settings ranging

from New York City to some of the state’s most rural counties. NYSAFP’s members include

physicians who are certified prescribers under the mifepristone REMS and who prescribe

mifepristone for abortion and miscarriage care. NYSAFP is headquartered at 16 Sage Estates, Suite

202, Albany, New York 12204.

       26.    As described infra, the Mifepristone In-Person Dispensing Requirement impedes

NYSAFP’s members’ ability to reduce risks of exposure to SARS-CoV-2 for themselves, their

staff, and their patients in accordance with their professional judgment, and imposes unnecessary

medical risks and other harms on NYSAFP’s members and their patients during the COVID-19

pandemic. NYSAFP sues on behalf of its members and its members’ patients.

       27.    For instance, NYSAFP member and board member Heather Paladine, M.D., M.Ed.,

FAAFP, is a certified mifepristone prescriber under the REMS who prescribes mifepristone to her

patients at a “safety net” primary care community health center in New York City exclusively

serving uninsured and low-income patients. Because of the Mifepristone In-Person Dispensing

Requirement, Dr. Paladine has been unable to provide any medication abortion care to her patients

while her office was closed in response to the severe COVID-19 outbreak in New York; although

she was continuing to care for other patients via telehealth and could have provided medication




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abortion care to eligible patients via telehealth, she did not have a physical location where the

patient could obtain the mifepristone in accordance with the Requirement. Her office has reopened

at a fraction of its usual capacity, but her ability to see patients needing medication abortion care

remains very limited. For those patients she is able to see, the Mifepristone In-Person Dispensing

Requirement requires them to travel unnecessarily to her health care facility to obtain the

mifepristone pill, even when they will be receiving no in-person medical services at that time. The

Requirement thus subjects Dr. Paladine and her patients to needless viral exposure risks and other

harms; impedes her from exercising her clinical judgment during the COVID-19 pandemic; and

prevents her from providing abortion care to some of her patients at all. If not for the Requirement,

some of Dr. Paladine’s patients could and would obtain mifepristone by mail, without having to

make a medically unnecessary trip to her health care facility.

       28.     Plaintiff SisterSong Women of Color Reproductive Justice Collective

(“SisterSong”) is a nationwide non-profit membership organization that was formed in 1997 by 16

organizations led by and representing Indigenous, Black, Latinx, and Asian American women and

transgender people who recognized their right and responsibility to represent themselves in

advancing their needs. By asserting the human right to reproductive justice, SisterSong works to

build an effective network of individuals and organizations addressing institutional policies,

systems, and cultural practices that limit the reproductive lives of marginalized people.

SisterSong’s membership includes clinicians who are certified prescribers under the mifepristone

REMS and who prescribe mifepristone for abortion and miscarriage care in communities of color,

as well as women and trans people of color seeking abortion and miscarriage care.

       29.     As described infra, the Mifepristone In-Person Dispensing Requirement impedes

SisterSong’s members’ ability to reduce risks of exposure to SARS-CoV-2 for themselves, their




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staff, and their patients in accordance with their professional judgment, and imposes unnecessary

medical risks and other harms on SisterSong’s members and their patients during the COVID-19

pandemic. In addition, the Mifepristone In-Person Dispensing Requirement jeopardizes the health

and well-being of SisterSong’s members seeking reproductive health care by needlessly increasing

their risk of contracting COVID-19, which is disproportionately severe and fatal among

communities of color. SisterSong sues on behalf of its members and its members’ patients.

SisterSong is headquartered at 1237 Ralph David Abernathy Blvd., SW, Atlanta, Georgia 30310.

       30.     For instance, SisterSong member Serina Floyd, M.D., M.S.P.H., FACOG, is a

certified mifepristone prescriber pursuant to the REMS who prescribes mifepristone to her patients

at Planned Parenthood Metropolitan Washington, D.C., Inc. (“PPMW”), where she serves as the

Medical Director and Vice President of Medical Affairs. Because of the Mifepristone In-Person

Dispensing Requirement, some of her patients seeking abortion and miscarriage care, who are

predominantly low-income people of color, must travel unnecessarily to PPMW’s clinics in

Maryland and Washington, D.C., to obtain their mifepristone pill, even when they will be receiving

no in-person medical services at that time. The Requirement subjects Dr. Floyd, her staff, and her

patients to needless viral exposure risks and other harms, and impedes her from exercising her

clinical judgment during the COVID-19 pandemic. If not for the Requirement, some of Dr. Floyd’s

patients could and would obtain mifepristone by mail, without having to make a medically

unnecessary trip to her health care facility.

       31.     Plaintiff Honor MacNaughton, M.D., is a certified mifepristone prescriber under

the REMS who prescribes mifepristone to her patients at a “safety net” hospital system in the

greater Boston area that serves predominantly low-income patients. Because of the Mifepristone

In-Person Dispensing Requirement, some of Dr. MacNaughton’s patients seeking abortion and




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miscarriage care must travel unnecessarily to her health care facility to obtain their mifepristone

pill, even when they will be receiving no medical services at that time. The Requirement subjects

Dr. MacNaughton and her patients to needless viral exposure risks and other harms, and impedes

her from exercising her clinical judgment during the COVID-19 pandemic. If not for the

Requirement, some of Dr. MacNaughton’s patients could and would obtain mifepristone by mail,

without having to make a medically unnecessary trip to her health care facility. Dr. MacNaughton

sues in her individual capacity and not as a representative of any institution with which she is

affiliated. Dr. MacNaughton’s address is P.O. Box 400865, Cambridge, Massachusetts 02140.

                                           Defendants

       32.     Defendant FDA is an agency of the United States government within HHS,

headquartered in Silver Spring, Maryland. The Secretary of HHS has delegated to the FDA the

authority to administer the provisions of the Food, Drug, and Cosmetic Act (“FDCA”) authorizing

the imposition of a REMS. See 21 U.S.C. § 355-1(a)(4).1 The FDA promulgated the mifepristone

REMS that includes the In-Person Dispensing Requirement, and has maintained the Mifepristone

In-Person Dispensing Requirement despite numerous requests from Plaintiffs and other medical

authorities for relief from this mandate during the COVID-19 pandemic.

       33.     Defendant Stephen Hahn, M.D., who is being sued in his official capacity only, is

the Commissioner of Food and Drugs and is responsible for supervising the activities of the FDA,

including with regard to the imposition, suspension, waiver, or removal of a REMS. Defendant

Hahn maintains offices in Silver Spring, Maryland, and in Washington, D.C. Defendant Hahn has




1
 See also U.S. Food & Drug Admin., FDA Staff Manual Guides, Volume II - Delegations of
Authority 1410.10(1)(A)(1) (effective Aug. 26, 2016),
https://www.fda.gov/media/81983/download (delegations of authority to the Commissioner of
Food and Drugs).

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presided over the FDA while it has maintained the Mifepristone In-Person Dispensing

Requirement during the COVID-19 pandemic.

       34.      Defendant HHS is a cabinet-level department of the United States government with

offices in Washington, D.C. Its components include the FDA, CDC, and numerous others. HHS is

responsible for enhancing and protecting the health and well-being of all Americans by providing

for effective health and human services and fostering advances in medicine, public health, and

social services. HHS is the principal cabinet-level department responsible for coordinating the

federal government’s response to the COVID-19 pandemic, including with regard to the

imposition, suspension, waiver, or removal of federal requirements relating to the use of

telemedicine.

       35.      Defendant Alex Azar, J.D., who is being sued in his official capacity only, is the

Secretary of HHS and is responsible for administering and enforcing REMS programs, in

consultation with the office responsible for reviewing a drug and the office responsible for post-

approval safety within the FDA, as well as for overseeing HHS’s response to the COVID-19

pandemic. Defendant Azar maintains an office in Washington, D.C.

                                  FACTUAL ALLEGATIONS

                               Mifepristone Regimen and Safety

                                 Medication Abortion Regimen

       36.      Medication abortion to end an early pregnancy involves two FDA-approved

prescription medications: mifepristone and misoprostol. Together, they cause the patient to

undergo a pregnancy termination within a predictable period of time in a manner that is clinically

very similar to an early miscarriage.

       37.      To date, more than four million people in the United States have used mifepristone




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in combination with misoprostol to end an early pregnancy.2 The mifepristone-misoprostol

combination comprised 39% of all U.S. abortions in 2017 (the latest available data).3

       38.     The mifepristone-misoprostol regimen is as follows: First, the prescribing clinician

assesses the patient’s eligibility for a medication abortion. Sometimes this will occur through an

in-person assessment, such as an ultrasound and/or blood work, and sometimes entirely through

telehealth (for patients with regular periods and no risk factors) based on the patient’s reported

results of an over-the-counter urine pregnancy test(s), last menstrual period (“LMP”), medical

history, and a discussion of any symptoms she is experiencing.

       39.     The FDA does not dictate where or how this eligibility assessment is conducted; it

is left to the clinician’s best medical judgment and may occur entirely through telehealth

technologies. Indeed, during the pandemic, Plaintiff ACOG issued guidance specifically

recommending that clinicians consider performing these assessments remotely.4

       40.     If, based on a remote evaluation, the patient is eligible for a medication abortion

without an in-person assessment, the clinician will comprehensively counsel the patient about the

risks of, and alternatives to, the medication abortion regimen, including reviewing certain

information required by the mifepristone REMS. The prescriber then obtains the patient’s




2
  Mifeprex Effectiveness & Advantages, Danco Laboratories, https://www.earlyoptionpill.com/is-
mifeprex-right-for-me/effectiveness-advantages/ (last visited May 23, 2020).
3
  Rachel K. Jones, Elizabeth Witwer & Jenna Jerman, Abortion Incidence and Service
Availability in the United States, 2017, Guttmacher Inst., at 8 (Sept.
2019), https://www.guttmacher.org/report/abortion-incidence-service-availability-us-2017.
4
  See COVID-19 FAQs for Obstetrician-Gynecologists, Gynecology, Am. Coll. of Obstetricians
& Gynecologists [hereinafter “ACOG”], https://www.acog.org/en/clinical-
information/physician-faqs/COVID19-FAQs-for-Ob-Gyns-Gynecology (last visited May 23,
2020) (COVID-19 guidance explicitly instructing health care providers to consider assessing
how many weeks the pregnancy has advanced “remotely for patients with regular periods, a
known last menstrual period, and no risk factors for ectopic pregnancy. An ultrasound
assessment is not required.”)

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informed consent.

       41.     If the patient is eligible for and has consented to a medication abortion, the clinician

issues a prescription for mifepristone and misoprostol. The patient is given specific instructions

for use and follow-up care, including how to identify and obtain care in the extremely rare event

of a serious complication.

       42.     Second, the patient picks up their prescription for mifepristone—a single 200 mg

tablet—at the prescriber’s hospital, clinic, or medical office. Because of the Mifepristone In-

Person Dispensing Requirement, discussed further infra, the patient must travel in person to the

health care facility to obtain this pill, even if the eligibility assessment was completed through

telehealth or at an earlier visit and they are obtaining no in-person services. The patient will also

sign a form required by the mifepristone REMS containing the same information the prescriber

and patient have previously reviewed, which, incidental to the Mifepristone In-Person Dispensing

Requirement, must be signed onsite.

       43.     Third, the patient takes the mifepristone orally. The FDA allows patients to swallow

the mifepristone wherever they feel most comfortable, including at home.

       44.     Fourth, 24 to 48 hours later, and also at a location of their choosing, the patient

takes the misoprostol. The patient may obtain the misoprostol from a mail-order or retail

pharmacy, or at the health care facility where they obtained the mifepristone.

       45.     Fifth, approximately 2 to 24 hours after taking the misoprostol, the patient will

experience bleeding and cramping that expels the pregnancy. The FDA’s labeling for mifepristone

advises prescribers to discuss with patients where they will be located beginning 2 hours after

taking the misoprostol (i.e., 26 to 50 hours after taking the mifepristone) to ensure they are in a

comfortable location for this expected bleeding and cramping.




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       46.     Finally, the FDA advises patients to follow up with their prescriber 7 to 14 days

after completing the medication abortion regimen to ensure the abortion was successful. This

follow-up often occurs by phone, with termination of pregnancy confirmed by self-reported

symptoms and a home urine pregnancy test.

       47.     When used in a medication abortion, mifepristone blocks the body’s receptors for

progesterone, a hormone necessary to sustain pregnancy, causing the pregnancy tissue and lining

of the uterus to break down and separate from the uterine wall.

       48.     Misoprostol causes uterine contractions that expel the contents of the uterus.

Although misoprostol taken alone also acts as an abortifacient, it is far more effective when used

in combination with mifepristone.

       49.     The FDA-approved labeling for mifepristone indicates that the mifepristone-

misoprostol regimen is for use through 70 days LMP. However, for all medications, evidence-

based “off-label” use is common, permissible, and often essential to align with evolving standards

of care. The mifepristone-misoprostol regimen is now increasingly prescribed through 77 days (11

weeks) LMP in accordance with research confirming the safety and efficacy of medication

abortion beyond 10 weeks of pregnancy.

                         Early Pregnancy Loss (Miscarriage) Regimen

       50.     While misoprostol alone has long been used to medically manage early pregnancy

loss, it is now widely recognized that the superior miscarriage treatment regimen includes

mifepristone. Mifepristone enhances the efficacy of the misoprostol, making it more likely that the

patient will completely expel the pregnancy with medications alone and decreasing the need for a

follow-up in-office procedure to evacuate the uterus.

       51.     Patients experiencing early pregnancy loss frequently do not obtain treatment when




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and where they first receive the miscarriage diagnosis. Patients often want additional time to

process the diagnosis, or to wait and see if the miscarriage resolves on its own, before deciding to

undergo medical treatment. In addition, pregnant patients who present to an emergency department

with bleeding or pain and receive a miscarriage diagnosis are particularly likely to be referred

elsewhere for treatment during the pandemic, when hospital resources are stretched thin and

exposure risks increase the longer a patient spends in the hospital.

                                      Safety of Mifepristone

       52.     According to the FDA, “Mifeprex has been increasingly used as its efficacy and

safety have become well established by both research and experience, and serious complications

have proven to be extremely rare.”5 The FDA has observed that “[m]ajor adverse events . . . are

reported rarely in the literature on over 30,000 patients. The rates, when noted, are exceedingly

rare, generally far below 0.1% for any individual adverse event.”6

       53.     The specific serious complications identified in the FDA-approved labeling for

Mifeprex are “Serious and Sometimes Fatal Infections or Bleeding.” The labeling specifies that

such “serious and potentially life-threatening bleeding, infections, or other problems can occur

following a miscarriage, surgical abortion, medical abortion or childbirth”—i.e., any time the

pregnant uterus is emptied—and that “[n]o causal relationship between the use of MIFEPREX and




5
  U.S. Food and Drug Admin., Ctr. for Drug Evaluation & Res., Medical Review of Mifeprex 12
(Mar. 29, 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf
[hereinafter “FDA 2016 Medical Review”]; see also U.S. Food & Drug Admin., Full Prescribing
Information for Mifeprex 7–8, Tables 1 & 2 (approved Mar. 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf [hereinafter
“Mifeprex Labeling”], attached hereto as Exhibit 1.
6
  FDA 2016 Medical Review, supra note 5, at 47; see also Mifeprex Labeling, supra note 5, Ex.
1 at 8, Table 2.

                                                 17
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misoprostol and [infections and bleeding] has been established.”7

       54.     Carrying a pregnancy to term poses much higher risks of both morbidity and

mortality than medication abortion. In the United States, a person is approximately 14 times more

likely to die if they continue a pregnancy to term rather than have an abortion.8

                                FDA Regulation of Mifepristone

       55.     The FDA imposed the Mifepristone In-Person Dispensing Requirement in 2000,

when it first approved mifepristone for marketing in the United States.9 Since 2011, this restriction

(and others) have been imposed under the FDA’s “REMS” authority.10

       56.     Leading medical authorities, including Plaintiff ACOG, have long opposed the

Mifepristone In-Person Dispensing Requirement as medically unnecessary and burdensome.11

       57.     A REMS is a set of restrictions beyond the drug’s labeling that the FDA may

impose only when necessary to ensure that a drug’s benefits outweigh its risks. 21 U.S.C. § 355-

1(a)(1).

       58.     The most burdensome type of REMS are “Elements to Assure Safe Use”




7
  Mifeprex Labeling, supra note 5, Ex. 1 at 2, 16.
8
  Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced Abortion
and Childbirth in the United States, 119(2) Obstetrics & Gynecology 215, 216 (Feb. 2012).
9
  See U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Research, Risk Assessment and Risk
Mitigation Review(s) 7 (Mar. 29, 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RiskR.pdf
[hereinafter “FDA 2016 REMS Review”]. Because this document is a package of memoranda
and letters, each with page numbers beginning at 1, Plaintiffs’ pin-cites refer to the page number
within the 37-page PDF.
10
   Id.
11
   See U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Research, Cross-Discipline Team
Leader Review 25 (Mar. 29, 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020CrossR.pdf
(discussing letters submitted by ACOG, the American Public Health Association, and other
medical and public health authorities asking FDA to eliminate the mifepristone REMS, including
the in-person dispensing requirement).

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(“ETASU”), which the FDA may properly impose on a drug that “has been shown to be effective”

only if it is “associated with a serious adverse drug experience” such that it “can be approved only

if, or [approval] would be withdrawn unless, such elements are required.” Id. § 355-1(f)(1)(A).

       59.     The mifepristone REMS contains three ETASU:12

       60.     First, the In-Person Dispensing ETASU (“ETASU C,” pursuant to 21 U.S.C. §

355-1(f)(3)(C)) provides that mifepristone may be dispensed only in a hospital, clinic, or medical

office, by or under the supervision of a “certified prescriber” (defined infra). Patients may not

obtain mifepristone by prescription from a mail-order or retail pharmacy as they would for

virtually any other drug, nor even receive the medication directly by mail from their prescriber

where state law allows. Instead, patients must fill their prescription only at a hospital, clinic, or

medical office, even when—as the REMS permits—they are receiving no other in-person services

at that time and will swallow the pill at home. Of the 16 drugs subject to ETASU C, mifepristone

is the only one for which patients may self-administer the medication without clinical supervision.

       61.     Second, Prescriber Certification ETASU (“ETASU A,” pursuant to 21 U.S.C. §

355-1(f)(3)(A)) requires that clinicians who seek to prescribe mifepristone fax to the drug

distributor a form attesting to their clinical abilities; agreeing to comply with certain reporting

requirements; and agreeing to comply with the other REMS elements.

       62.     Third, the Patient Form ETASU (“ETASU D,” pursuant to 21 U.S.C. § 355-

1(f)(3)(D)) provides that the prescriber and patient must review and sign a special form containing

information regarding the mifepristone regimen and risks, and that the prescriber provide the




12
   U.S. Food & Drug Admin., Risk Evaluation and Mitigation Strategy (REMS) Single Shared
System for Mifepristone 200mg (Apr. 2019),
https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2019_04_11_REMS_Full.p
df [hereinafter “Mifepristone REMS”], attached hereto as Exhibit 2.

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patient with a copy of the form and place a copy of the form in the patient’s chart. All of the

information in the patient form is also included in the “Medication Guide” that is part of the FDA-

approved labeling for mifepristone that is provided to patients with the medication. Indeed, in

2016, the FDA’s multidisciplinary expert review team and the Director of the FDA’s Center for

Drug Evaluation and Research recommended eliminating the Patient Form Requirement

Agreement because it is “duplicative of information in the Medication Guide,” “does not add to

safe use conditions,” and “is a burden for patients,” but they were overruled by the FDA

Commissioner.13

       63.     Both the Prescriber Certification and the Patient Form Requirement contain

language assuming that the prescriber and patient are in the same physical location. The Patient

Form, which must be signed by both the patient and the prescriber, states that the patient signed

the form “in my [the prescriber’s] presence after I counseled her and answered all her questions,”

and that the prescriber must “give 1 copy [of the form] to the patient before she leaves the office

and put 1 copy in her medical record.”14 The Prescriber Certification echoes this language and also

requires that the clinician “record the serial number from each package of Mifeprex in each

patient’s record.”15 These requirements are incidental to the In-Person Dispensing Requirement

and encompassed by Plaintiffs’ use of the term herein.

       64.     There is no requirement that the prescriber review the Patient Form and answer any

questions immediately before the patient signs: prescribers may and do conduct such counseling

via telehealth and then simply obtain a signature when the patient presents at the hospital, clinic,



13
   FDA 2016 REMS Review, supra note 9, at 2; U.S. Food & Drug Admin., Ctr. for Drug
Evaluation & Res., Summary Review 25 (Mar. 29, 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020SumR.pdf
14
   Mifepristone REMS, supra note 12, Ex. 2 at 8.
15
   Id. at 6.

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or medical office to pick up their prescription.

        65.     The requirement that the prescriber record the package serial number is a function

of the extremely unusual requirement for mifepristone that the prescriber also act as the

pharmacist, dispensing the medication onsite. There is no medical rationale for requiring the

prescriber (as opposed to a pharmacist) to record the serial number.

        66.     Under the FDCA, the federal government can enforce a REMS against individual

clinicians or against the drug sponsor. Id. §§ 331, 333, 352(y), 355-1(b)(7). Penalties against a

drug sponsor for REMS violations can include an injunction preventing the manufacturer from any

further sales or distribution of the product and/or seizure of product. Id. §§ 331, 352(y). The

manufacturer can also be subject to civil penalties (up to $250,000 per REMS violation), as well

as criminal penalties, and other forms of potential liability. Id. §§ 333(f)(4)(A), 334.

                                  COVID-19 in the United States

                                  Current Impact of the Pandemic

        67.     COVID-19 is the disease caused by the SARS-CoV-2 virus that was first reported

to the World Health Organization (“WHO”) on December 31, 2019.16 In less than three months,

COVID-19 spread across the world, causing the WHO to label the outbreak a “global pandemic”

on March 11, 2020.17 At that time, there were 118,000 cases in 110 countries. As of May 20, the

WHO reported nearly 5 million confirmed cases and more than 320,000 confirmed deaths across

216 countries, areas, and territories.18

        68.     As of May 20, four months since the first confirmed case of SARS-CoV-2 on U.S.



16
   WHO Timeline -- COVID 19, World Health Org., https://www.who.int/news-room/detail/27-
04-2020-who-timeline---covid-19 (last visited May 20, 2020).
17
   Id.
18
   Coronavirus Disease (COVID-19) Pandemic, World Health Org.,
https://www.who.int/emergencies/diseases/novel-coronavirus-2019 (last visited May 20, 2020).

                                                   21
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soil, the CDC reported more than 1.5 million cases and nearly 100,000 deaths in the United States,

with cases in every state and the District of Columbia.19 Those numbers mark the highest number

of COVID-19 cases and related deaths in any country in the world.20 Indeed, the case and death

tally in certain U.S. states exceeds that of most countries in the world.21

       69.     As of May 20, more than 23,000 new cases and more than 1,300 new deaths in a

single day were being reported in the United States, as the overall impact of the pandemic

continues to increase here.22

       70.     Significantly, COVID-19’s harms have not been borne equally. The available data

show a particularly high prevalence of infection in areas with lower average incomes, which often

overlap with areas where a higher percentage of people of color live.

       71.     This higher prevalence is likely due to the fact that many people with lower-paying

employment have neither the flexibility to work from home nor the financial cushion to forgo

working, and often work in essential jobs (for instance, as home health aides or grocery store

clerks) in which the infection prevention measures described infra—namely, maintaining at least

six feet of distance from other people—are difficult or impossible. People with fewer resources

are also more likely to live in crowded housing, without extra space that might allow isolation of

a family member sick with COVID-19; more likely to rely on public transportation; and generally

lack the resources available in wealthier communities to mitigate the risk of contagion.



19
   Cases in the U.S., Ctrs. for Disease Control & Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last visited May 20,
2020).
20
   See WHO Coronavirus Disease (COVID-19) Dashboard, World Health Org.,
https://covid19.who.int/ (last visited May 20, 2020).
21
   Compare id., with United States COVID-19 Cases and Deaths by State, Ctrs. for Disease
Control & Prevention, https://www.cdc.gov/covid-data-tracker/index.html (last visited May 20,
2020).
22
   Cases in the U.S., supra note 19.

                                                 22
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       72.     In addition, due to longstanding inequities in access to and quality of care and

structural racism, low-income people and people of color are more likely to suffer from certain

preexisting medical conditions, such as diabetes, obesity, and hypertension, that make them high-

risk for severe COVID-19 illness and fatality.

       73.     For instance, in the 28 states and New York City reporting race and ethnicity with

COVID-19 mortality data, and after adjusting for age, Black Americans are more than 3.5 times

as likely to die from COVID-19, and Latinx Americans are almost twice as likely to die, as white

Americans.23 Black Americans represent only about 13% of the population in the states reporting

racial/ethnic information, but account for about 34% of total COVID-19 deaths in those states.24

                               Ongoing Nature of the Pandemic

       74.     The virus will stop spreading only once there is “herd immunity,” which occurs

when a sufficiently high percentage of the population becomes immune to an infectious disease,

such that the spread is dramatically slowed. In this context, an individual’s immunity can come

from either a vaccine or from previous infection.

       75.     There is no COVID-19 vaccine, and it is unlikely that an FDA-approved vaccine

will be available for widespread public use for approximately 12 to 18 months. Even when a

vaccine is available, there may be limited quantities and additional time necessary to manufacture

and distribute the necessary supply.

       76.     Moreover, due to the virus’s novelty, it is still unknown whether any immunity

generated by previous infection lasts permanently or only for a specified period, or whether some



23
   Cary P. Gross, Utibe R. Essien, Saamir Pasha, Jacob R. Gross, Shi-yi Wang & Marcella
Nunez-Smith, Racial and Ethnic Disparities in Population Level Covid-19 Mortality, medRxiv,
https://doi.org/10.1101/2020.05.07.20094250
24
   Racial Data Transparency, Johns Hopkins Univ., https://coronavirus.jhu.edu/data/racial-data-
transparency (last visited May 24, 2020).

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individuals who have had the virus do not develop immunity at all. Even assuming that infection

confers permanent or long-term immunity, and even in places already hit hard by the COVID-19

pandemic, such as New York City, the data show that the population is very far from obtaining

herd immunity based on prior infection alone.

       77.     As a result, SARS-CoV-2 transmission is likely to continue across the United States

throughout 2020 and into at least 2021, until the development and widespread use of a vaccine.

       78.     The COVID-19 pandemic may have an even more severe impact in fall 2020 and

winter 2021 because of the overlapping effects of influenza and respiratory syncytial virus, which

peak seasonally in the fall and winter and produce many of the same symptoms as COVID-19.

       79.     In short, a diminishing number of new cases identified or deaths recorded per day,

or a “flattening of the curve,” does not mean the end of COVID-19 or diminished harms for the

individuals who will continue to become infected. It also does not prevent a new spike in the

number of cases, which is expected as some businesses and schools begin to resume in-person

services and the number of in-person encounters increases.

                                  Infection Prevention Measures

       80.     The only known effective measure to reduce the risk of serious illness and death

from COVID-19 is to prevent infection in the first place.

       81.     Transmission of SARS-CoV-2 can occur in any location where there is close

proximity (less than six feet) between individuals. Because transmission of the virus can occur via

environmental surfaces, there is also risk of spread of the virus at any location where multiple

individuals touch surfaces. There is also growing evidence that the virus can become aerosolized

and linger in the air after an infected person talks or coughs, for instance, and then leaves the area.

       82.     Accordingly, the CDC and other public health experts have identified staying at




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home, avoiding close contact with other individuals (i.e., “social distancing”), and adopting a

vigilant hygiene regimen, as the best measures for protecting against transmission of SARS-CoV-

2. Because the virus spreads even among people who do not feel sick or exhibit any symptoms,

reducing in-person encounters is the best way to curb transmission.

        Federal Actions Encouraging Telehealth and Giving Clinicians Discretion to
        Forgo Unnecessary In-Person Encounters During the COVID-19 Pandemic

        83.     One critical way to decrease potential in-person contacts is through greater use of

telemedicine. By reducing in-person visits to medical offices and hospitals, telemedicine helps

reduce the risks patients face when traveling for care, while also preventing health care facilities

from becoming sites of transmission. Telemedicine enables clinicians to meet patients’ time-

sensitive medical needs remotely, preventing delays in care that would lead to worse health

outcomes and/or necessitate more intensive treatment down the road.

        84.     Defendant HHS has emphatically promoted the widespread use of telemedicine

during the pandemic. The CDC instructs health care professionals that “[l]everaging telemedicine

whenever possible is the best way to protect patients and staff from COVID-19,”25 and encourages

patients to “[u]se telemedicine, if available, or communicate with your doctor or nurse by phone

or e-mail.”26 The CDC specifically advises patients to use mail-order or delivery services, if

possible, for all of their prescriptions.27

        85.     To facilitate an expansion of telehealth, Defendant HHS’s Office for Civil Rights



25
   Coronavirus Disease 2019 (COVID 19): Preparedness Tools, Print Resources, Ctrs. for Disease Control
& Prevention, https://www.cdc.gov/coronavirus/2019-ncov/hcp/preparedness-resources.html
(last updated Mar. 31, 2020).
26
   Coronavirus Disease 2019 (COVID 19): Daily Life & Coping, Running Essential Errands,
Ctrs. for Disease Control & Prevention, https://www.cdc.gov/coronavirus/2019-ncov/daily-life-
coping/essential-goods-services.html (last updated May 11, 2020) [hereinafter “CDC, Running
Essential Errands”].
27
   Id.

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(“OCR”) announced that it would waive potential penalties under the Health Information and

Privacy Protection Act against health care providers that act in “good faith” to serve patients

through everyday communications technologies, such as FaceTime or Zoom, during the COVID-

19 emergency. The OCR Director explained: “We are empowering medical providers to serve

patients wherever they are during this national public health emergency.”28

       86.     Another HHS agency, the Centers for Medicare and Medicaid Services (“CMS”),

announced in March that it would temporarily expand Medicare coverage to include a broader

range of telemedicine services,29 and in April published a toolkit to help states take advantage of

“broad federal flexibility to cover telehealth through Medicaid.”30 CMS Administrator Seema

Verma explained that the coverage expansion would allow patients “to communicate with their

doctors without having to travel to a healthcare facility so that they can limit risk of exposure and

spread of this virus. Clinicians on the frontlines will now have greater flexibility to safely treat our

beneficiaries.”31 Defendant Secretary Azar similarly stated that the coverage expansion would

allow patients “to access healthcare they need from their home, without worrying about putting




28
   OCR Announces Notification of Enforcement Discretion for Telehealth Remote
Communications During the COVID-19 Nationwide Public Health Emergency, Health & Human
Servs. (Mar. 17, 2020), https://www.hhs.gov/about/news/2020/03/17/ocr-announces-notification-
of-enforcement-discretion-for-telehealth-remote-communications-during-the-covid-19.html.
29
   President Trump Expands Telehealth Benefits for Medicare Beneficiaries During COVID-19
Outbreak, Ctrs. for Medicare & Medicaid Servs. (Mar. 17, 2020),
https://www.cms.gov/newsroom/press-releases/president-trump-expands-telehealth-benefits-
medicare-beneficiaries-during-covid-19-outbreak.
30
   Trump Administration Released COVID-19 Telehealth Toolkit to Accelerate State Use of
Telehealth in Medicaid and CHIP, Ctrs. for Medicare & Medicaid Servs. (Apr. 23, 2020),
https://www.cms.gov/newsroom/press-releases/trump-administration-releases-covid-19-
telehealth-toolkit-accelerate-state-use-telehealth-medicaid.
31
   Id.

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themselves or others at risk during the COVID-19 outbreak.”32

        87.     Defendant FDA has likewise encouraged the use of telemedicine. For example, the

agency issued guidance in March, under its authority to “protect[] the United States from threats .

. . including the . . . COVID-19 pandemic,” that sought to expand the use of remote patient

monitoring devices.33 As the FDA explained: “In the context of the COVID-19 public health

emergency, the leveraging of current non-invasive patient monitoring technology will help

eliminate unnecessary patient contact and ease the burden on hospitals, other health care facilities,

and health care professionals that are experiencing increased demand due to the COVID-19

pandemic as it relates to diagnosis and treatment of patients with COVID-19 and ensuring other

patients who require monitoring for conditions unrelated to COVID-19 can be monitored outside

of health care facilities.”34

        88.     Defendants have also relaxed in-person requirements for highly regulated drugs

during the pandemic, to afford clinicians discretion to provide appropriate medical care under these

emergency circumstances. On March 22, 2020, the FDA issued guidance declaring its intention

not to enforce REMS requirements for laboratory testing (such as liver enzyme testing) or imaging

studies (such as MRIs) for the duration of the public health emergency, as long as the decision to

forgo testing was made based on the judgment of a health care professional.35




32
   Secretary Azar Announces Historic Expansion of Telehealth Access to Combat COVID-19,
Health & Human Servs. (Mar. 17, 2020), https://www.hhs.gov/about/news/2020/03/17/secretary-
azar-announces-historic-expansion-of-telehealth-access-to-combat-covid-19.html.
33
   U.S. Food & Drug Admin., Enforcement Policy for Non-Invasive Remote Monitoring Devices
Used to Support Patient Monitoring During the Coronavirus Disease 2019 (COVID-19) Public
Health Emergency: Guidance for Industry and Food and Drug Administration Staff (Mar. 2020),
https://www.fda.gov/media/136290/download.
34
   Id.
35
   U.S. Food & Drug Admin., Policy for Certain REMS Requirements During the COVID-19
Public Health Emergency: Guidance for Industry and Health Care Professionals (Mar. 2020),

                                                 27
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       89.     In announcing its intent not to enforce other REMS, the FDA stated that, during the

COVID-19 emergency, “completion of REMS-required laboratory testing or imaging studies may

be difficult because patients may need to avoid public places and patients suspected of having

COVID-19 may be self-isolating and/or subject to quarantine. Under these circumstances,

undergoing laboratory testing or imaging studies in order to obtain a drug subject to a REMS can

put patients and others at risk for transmission of the coronavirus.”36

       90.     Similarly, Defendant Secretary Azar lifted in-person requirements for the

prescription of controlled substances during the public health emergency. In consultation with the

U.S. Drug Enforcement Agency (“DEA”), Defendant Azar has activated an emergency exception

that allows medical providers to prescribe controlled substances via telemedicine without first

conducting an in-person examination.37 In a letter to practitioners, the DEA also explained that it

is “exercising its authorities to provide flexibility in the prescribing and dispensing of controlled

substances to ensure necessary patient therapies remain accessible” during the nationwide public

health emergency declared by HHS as a result of COVID-19.38 The head of the DEA stated that

the agency would continue to “explore options that ensure those in need of vital prescriptions are

able to get them, while still adhering to safe practices such as social distancing.”39




https://www.fda.gov/media/136317/download [hereinafter “FDA Policy for Certain REMS
During COVID-19”].
36
   Id. at 7.
37
   COVID-19 Information Page, Telemedicine, U.S. Drug Enf’t Admin.,
https://www.deadiversion.usdoj.gov/coronavirus.html#TELE (last visited May 25, 2020).
38
   U.S. Drug Enf’t Admin., Letter from Thomas Prevoznik to U.S. Drug Enf’t Admin. Qualifying
Practitioners and U.S. Drug Enf’t Admin. Qualifying Other Practitioners (Mar. 31, 2020),
https://www.deadiversion.usdoj.gov/GDP/(DEA-DC-
022)(DEA068)%20DEA%20SAMHSA%20buprenorphine%20telemedicine%20%20(Final)%20
+Esign.pdf
39
   DEA’s Response to COVID-19, U.S. Drug Enf’t Admin. (Mar. 20, 2020),
https://www.dea.gov/press-releases/2020/03/20/deas-response-covid-19.

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       91.     In accordance with public health guidance and this easing of federal restrictions,

clinicians are embracing health care delivery models that meet patients’ urgent needs while

reducing unnecessary travel and in-person examinations. In particular, in virtually all areas of

health care, clinicians are using telemedicine where medically appropriate to evaluate and treat

patients during the pandemic.

       92.     From management of chronic conditions, to acute treatment of infections, to

prenatal care, clinicians are using their professional judgment to care for patients remotely during

this public health emergency.

       93.     Without the increased use of telemedicine, many more patients would be going

without necessary health care during this pandemic, and many more patients and health care staff

would needlessly face increased transmission risks associated with in-person health care visits.

         FDA’s Retention of the Mifepristone In-Person Dispensing Requirement
        Despite Entreaties from Medical Authorities for Relief During the Pandemic

       94.     Recognizing the harm that the Mifepristone In-Person Dispensing Requirement is

causing patients and clinicians, particularly during the COVID-19 pandemic, and the lack of any

basis for the FDA’s differential treatment of mifepristone prescribers and patients, for the past two

months leading medical and public health experts have petitioned the FDA not to enforce the

Requirement during the COVID-19 pandemic against clinicians exercising their professional

judgment to appropriately mitigate burdens and risks for their patients.

       95.     These requests include (but are not limited to):

                  The American Academy of Family Physicians (March 25, 2020);40

                  Nine clinics providing abortion and other reproductive health services in 16



40
 Letter from John S. Cullen, M.D., FAAFP, Am. Academy of Family Physicians, to Stephen M.
Hahn, M.D., U.S. Food & Drug Admin. (Mar. 25, 2020), attached hereto as Exhibit 3.

                                                 29
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                   states (March 27, 2020);41

                  ACOG and the Society for Maternal-Fetal Medicine (April 20, 2020);42 and

                  Dozens of professional associations and institutions, including Abortion Care
                   Network, American Society for Reproductive Medicine, American College of
                   Nurse-Midwives, Maryland Academy of Family Physicians, Massachusetts
                   Academy of Family Physicians, Michigan Academy of Family Physicians,
                   Minnesota Academy of Family Medicine, National Abortion Federation,
                   NYSAFP, Planned Parenthood Federation of America, Reproductive Health
                   Access Project, WAFP, and Weill Cornell Medicine, as well as hundreds of
                   individual clinicians and researchers from many of the nation’s leading
                   universities (April 28, 2020).43

       96.     Despite these urgent requests reflecting the national medical consensus that the

Requirement is needlessly harming patients and clinicians during this crisis, Defendants failed to

withdraw, suspend, or declare an intention not to enforce the Requirement during the pandemic,

and failed to provide any explanation for their constructive denial of these requests.

                       FDA’s Discriminatory Treatment of Mifepristone
                        Prescribers and Patients with No Medical Basis

       97.     There is no medical basis for requiring a patient to whom mifepristone has been

prescribed to travel to a hospital, clinic, or medical office solely to obtain a medication (which the

patient is permitted to swallow later at home) and physically sign a form (which the patient has

already reviewed with their prescriber via telehealth) during the pandemic.

       98.     Of the more than 20,000 FDA-approved drug products, the FDA subjects only 16

drugs to a REMS requiring the patient to obtain the medication in a hospital, clinic, or medical

office—two of which are Mifeprex and its generic, mifepristone. For every one of these 16 drugs


41
   Letter from Affiliated Med. Servs. et al., to Janet Woodcock, M.D., U.S. Food & Drug Admin.
(Mar. 27, 2020), attached hereto as Exhibit 4.
42
   Letter from ACOG & the Society for Maternal-Fetal Medicine to Stephen M. Hahn, M.D.,
U.S. Food & Drug Admin. (Apr. 20, 2020), attached hereto as Exhibit 5.
43
   Letter from Public Health Experts and Advocates to Janet Woodcock, M.D., U.S. Food &
Drug Admin. (Apr. 28, 2020), attached hereto as Exhibit 6.

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except Mifeprex and its generic, either the method by which the drug is administered requires, or

the drug’s prescribing information specifically states, that the drug is administered only in certain

health care settings or by specified health care personnel. Mifeprex and its generic are the only

FDA-approved drugs for which the FDA regulates where the patient can obtain the drug, but

neither specifies where the patient must take it nor requires any supervision of the patient as the

drug is administered.

         99.    Indeed, in 2016, the FDA updated the Mifeprex labeling to indicate that patients

may take the mifepristone without clinical supervision at a location of their choosing, based on

“studies, including those of home use of mifepristone and misoprostol, [that] show increased

convenience, autonomy and privacy for the woman, . . . and no increased burden on the health care

system,” and that identify “safety” as among the benefits of home administration.44

         100.   Moreover, the pharmacologic effects of mifepristone do not begin until hours after

ingestion, and, as the labeling explains, “most women will expel the pregnancy within 2 to 24

hours of taking misoprostol”—i.e., 26 to 72 hours after taking the mifepristone.45 Thus, regardless

of where patients take the mifepristone, they will almost never be with their prescriber by the time

they experience the medication’s effects. The Mifepristone In-Person Dispensing Requirement has

no bearing on whether a patient will experience one of the “exceedingly rare” risks listed in the

labeling, nor on how such a rare complication would be managed.

         101.   While the FDA refuses to allow clinicians prescribing mifepristone for abortion or

miscarriage care to mail mifepristone directly to their patients or call in a prescription to a mail-

order pharmacy, even during this pandemic, FDA has long authorized the same chemical




44
     FDA 2016 Medical Review, supra note 13, at 62.
45
     Mifeprex Labeling, supra note 5, Ex. 1 at 3.

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compound to be mailed directly to patients’ homes in far greater quantities when used for a

different purpose.

         102.   Mifepristone is also FDA-approved for marketing under the brand name Korlym®

in 300 mg tablets for daily use by patients with endogenous Cushing’s syndrome to treat high

blood sugar caused by high cortisol levels in the blood. Korlym is not subject to a REMS and may

be obtained from a mail-order pharmacy that delivers the drug to the patient’s home. The patient

then takes one to four pills (300 mg to 1200 mg—1.5 to 6 times the recommended dose for

Mifeprex) daily at home according to their prescription. In 2016, the FDA observed that “Korlym

is taken in higher doses, in a chronic, daily fashion unlike the single 200 mg dose of Mifeprex that

is the subject of this supplement; the rate of adverse events with Mifeprex is much lower.”46

         103.   There is no medical basis for allowing a mail-order pharmacy to dispense Korlym

to patients by prescription under all circumstances but prohibiting a mail-order pharmacy from

dispensing mifepristone by prescription even during the COVID-19 pandemic.

         104.   The FDA also allows the mailing of misoprostol, the second drug in the FDA-

approved medication abortion regimen. Misoprostol is not subject to a REMS and patients may

obtain it from retail or mail-order pharmacies.

         105.   Defendants have singled out mifepristone prescribers and patients for a special

barrier to telehealth care during the COVID-19 pandemic that impedes clinicians’ medical

judgment; subjects patients, clinicians, and other health care staff to unnecessary medical risks;

serves no rational or legitimate government purpose; and conflicts with Defendants’ own efforts

to mitigate the spread of COVID-19.47




46
     Mifeprex Medical Review, supra note 5, at 10.
47
     FDA Policy for Certain REMS During COVID-19, supra note 35, at n.13.

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          The Impact of the In-Person Dispensing Requirement During COVID-19

       106.    Because of the Mifepristone In-Person Dispensing Requirement, Plaintiffs and their

members must force patients to travel in person to a hospital, clinic, or medical office during the

COVID-19 pandemic, even when the patient has already been evaluated and comprehensively

counseled during a telehealth consultation or prior in-person evaluation and there is no medical

reason to make the in-person trip.

       107.    The Requirement increases SARS-CoV-2 exposure risks for patients and clinicians

in at least three ways: first, by directly requiring travel and person-to-person contact as a condition

of obtaining mifepristone for abortion or miscarriage care; second, by forcing patients to raise

funds and make arrangements for such travel and childcare, which—particularly in the context of

the pandemic and associated economic crisis—will delay some patients to the point in pregnancy

when medication abortion is no longer available and they instead need an in-office procedure that

requires more person-to-person contact for a longer duration of time; and third, by causing some

patients to use a less effective miscarriage treatment regimen (without mifepristone) in order to try

and minimize exposure risks and travel burdens, but which ultimately makes it more likely that

they will need a subsequent in-office procedure.

       108.    Traveling during the pandemic imposes medical risks. Many patients, and

particularly patients who are low-income, use public transportation, ride-sharing, or a borrowed

car, all of which expose the patient to risks of infection from surfaces and from other individuals

from whom they cannot maintain six feet of separation. If the patient has a car, stopping for gas or

a restroom on the way to the health care facility also creates infection risk. Given the dearth of

abortion access in many areas of the country and the frequency with which patients must travel

significant distances for such care, these stops necessarily occur for many patients. Indeed, 89%




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of U.S. counties lacked an abortion clinic in 2017 (the latest available data).48

        109.    In addition to being a significant cost and logistical hurdle, this poses significant

viral exposure risks. Indeed, it is exceedingly difficult to find childcare during the COVID-19

pandemic precisely because of the viral exposure risks, which have prompted many schools,

camps, and daycares to close and disrupted the social networks on which people typically rely.

Many health care facilities are not permitting children into their facilities during this pandemic

(unless being treated directly) because of social distancing and infection prevention efforts. Many

patients, therefore, will have to either allow caregivers into their homes or drop their children off

at someone else’s home (assuming they are able to find someone willing and able to risk the

exposure) or leave their children at a childcare facility (if they even have access to, and can afford

care at, a facility that is still open), while they travel to the health care center to obtain the

mifepristone—expanding contacts that occur without social distancing and creating other

opportunities for infection. If a patient is permitted to bring a child with them to the health care

center, and compelled to do so for lack of childcare, that child also faces unnecessary exposure

risks, and increases the risk to health care center staff as well.

        110.    Once patients arrive at the health care center, there will often be additional exposure

risks. Patients may be unable to maintain complete social distancing with other patients or health

care staff, even before they reach the location where they will receive their pill, particularly at

entrances and in common areas of the facility. In many cases, patients will have to touch doors,

elevators, and/or other surfaces within the hospital, clinic, or medical office. To obtain the

mifepristone pill and provide the incidental signature on paperwork required by the REMS,



48
   Rachel K. Jones, Elizabeth Witwer, & Jenna Jerman, Abortion Incidence and Service
Availability in the United States, 2017, Guttmacher Inst., at 7 (Sept. 2019),
https://www.guttmacher.org/report/abortion-incidence-service-availability-us-2017.

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patients will likely need to have close contact with at least one health care professional. Even

though health care professionals are very well-versed in infection control, these encounters still

necessarily carry some risk. While abortion and miscarriage care are essential services to which

patients must retain access during the pandemic, Defendants make accessing such care needlessly

risky.

         111.   This travel and social contact necessitated by the Requirement is directly contrary

to guidance issued by the CDC within Defendant HHS. For instance, the CDC advises people to

stay at home and avoid any travel, including local travel, specifically cautioning that bus or train

travel, or gas or rest stops during car travel, will expose individuals to infection risk.49 The CDC

emphasizes that children, like adults, should maintain social distancing and not have close contact

with those outside the immediate household.50 For groceries and other purchases, the CDC stresses

that individuals should “[o]rder food and other items online for home delivery or curbside pickup

(if possible). Only visit the grocery store, or other stores selling household essentials, in person

when you absolutely need to.”51

         112.   The CDC specifically advises patients to limit visits to pick up medications, and to

use mail-order or delivery services, if possible, for all of their prescriptions.52

         113.   For the significant majority (75%) of people seeking abortions who are poor or low-




49
   Coronavirus Disease 2019 (COVID-19): Travel, Coronavirus in the United States --
Considerations for Travelers, Ctrs. for Disease Control & Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-in-the-us.html (last updated May
22, 2020).
50
   Coronavirus Disease 2019 (COVID-19): Daily Life & Coping, Help Stop the Spread of
COVID-19 in Children Outbreak, Ctrs. for Disease Control & Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/children/protect-children.html
(last updated May 20, 2020).
51
   CDC, Running Essential Errands, supra note 26.
52
   Id.

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income, such travel and associated expenses will also often lead to delays that may, in turn,

increase medical risk. Research has long shown that the costs and logistics associated with having

to travel for an abortion delays patients’ access to care.

       114.    During the COVID-19 pandemic and associated unemployment crisis, low-income

patients are particularly likely to struggle to pay for and arrange travel. Already as of late April,

43% of U.S. adults reported that they or someone in their household had lost a job or taken a cut

in pay due to the pandemic, and among lower-income adults, 52% said they or someone in their

household has experienced direct impact on their take-home pay.53 In April, more than half (53%)

of lower-income adults said they would have trouble paying some of their bills that month.54

       115.    Moreover, COVID-19 has upended many of the networks and resources on which

people would typically rely in arranging transportation and childcare. Many schools and day care

centers are closed. Because of social distancing guidelines, many people are not seeing family

members, friends, and neighbors to whom they might normally turn for childcare assistance or to

borrow a car or get a ride.

       116.    Many patients suffering from intimate partner violence face additional challenges

in accessing abortion care, even under normal circumstances. Abusers often sabotage their

partners’ efforts to avoid pregnancy; isolate them from their networks of friends and family; and

deprive them of money, access to transportation, and access to health care. COVID-19, the

associated economic fallout, and self-isolation and social distancing guidelines in response to the

pandemic, all threaten to exacerbate these obstacles and burdens.



53
   Kim Parker, Juliana Menasce Horowitz, & Anna Brown, About Half of Lower-Income
Americans Report Household Job or Wage Loss Due to COVID-19, Pew Research Ctr. (Apr. 21,
2020), https://www.pewsocialtrends.org/2020/04/21/about-half-of-lower-income-americans-
report-household-job-or-wage-loss-due-to-covid-19/.
54
   Id.

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       117.    Because the Requirement substantially increases the costs, risks, and logistical

challenges of accessing abortion care during the COVID-19 pandemic, some patients will be

delayed to the point when they cannot obtain a medication abortion at all, and will instead have to

undertake the greater exposure risks associated with an in-office procedural abortion.

       118.    Indeed, patients who have been exposed to SARS-CoV-2 or are exhibiting any

symptoms of COVID-19 may have no choice but to delay their abortion by 14 days, or until they

can obtain a negative test, based on the facility’s quarantine policy. The Requirement denies such

patients the option to receive care promptly without ever having to leave their homes.

       119.    The needless medical risks imposed by the Mifepristone In-Person Dispensing

Requirement during COVID-19 are particularly dangerous for people with lower incomes and

people of color, who comprise a disproportionate share of impacted patients and generally have

fewer resources at their disposal to mitigate the risks of COVID-19. People of color are

significantly more likely to suffer severe illness and fatality from COVID-19.

       120.    Because of the nature of SARS-CoV-2 transmission, the harm that the Mifepristone

In-Person Dispensing Requirement imposes has repercussions far beyond the patients themselves.

This is particularly true for low-income people, people of color, and immigrants, who are more

likely to work in essential jobs, where they will continue to have contact with other members of

the community, and more likely to live in intergenerational or multi-family housing where

introducing the virus puts others, including elderly family members, at severe risk.

       121.    The Requirement jeopardizes the safety of Plaintiffs, Plaintiffs’ members, their

patients, their staff, and the public at large with no countervailing benefit.




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                                      CLAIMS FOR RELIEF
                                            COUNT I
                                     (Substantive Due Process)

       122.     The allegations of paragraphs 1 through 121 are incorporated as though fully set

forth herein.

       123.     The FDA’s de facto denial of requests to suspend the Mifepristone In-Person

Dispensing Requirement during the COVID-19 pandemic violates patients’ right to privacy and

liberty as guaranteed by the due process clause of the Fifth Amendment of the U.S. Constitution

by imposing life-threatening viral exposure risks as a condition of accessing abortion care while

serving no government interest, thereby imposing an undue burden on patients’ right to abortion.

                                           COUNT II
                                        (Equal Protection)

       124.     The allegations of paragraphs 1 through 121 are incorporated as though fully set

forth herein.

       125.     Defendants’ de facto denial of requests to suspend the Mifepristone In-Person

Dispensing Requirement during the COVID-19 pandemic violates Plaintiffs’ members’ and their

patients’ right to equal protection of the laws under the Fifth Amendment to the U.S. Constitution

by treating mifepristone prescribers and their patients differently from other similarly situated

clinicians and patients and imposing a unique barrier to provision of mifepristone without any

rational government interest justifying that discriminatory treatment.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs ask for the following relief:

       126.     Declare, pursuant to 28 U.S.C. § 2201, that the application of the Mifepristone In-

Person Dispensing Requirement during the COVID-19 pandemic violates the Fifth Amendment

of the United States Constitution;



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       127.    Issue preliminary and permanent injunctive relief, without bond, restraining the

enforcement, operation, and execution of the Mifepristone In-Person Dispensing Requirement for

the duration of the COVID-19 pandemic, by enjoining Defendants, their agents, employees,

appointees, or successors, from enforcing, threatening to enforce, or otherwise applying the

following “Elements to Assure Safe Use” (“ETASU”) and components thereof, of the mifepristone

REMS, for the duration of the COVID-19 pandemic and until such time as Defendants demonstrate

that medically unnecessary travel to a health care facility no longer poses a significant threat of

SARS-CoV-2 transmission and illness associated with COVID-19:

              ETASU C (Restricted Dispensing), providing that mifepristone may be dispensed

               only in a hospital, clinic, or medical office and not by mail or through a pharmacy;

              ETASU D (Patient Form), only to the extent it (1) requires patients obtaining

               mifepristone to sign the form in the physical presence of the prescriber, rather than

               signing remotely through technology or giving oral consent that the prescriber

               documents in the patient’s record; and (2) requires the prescriber to present the

               patient with a copy of the form at the hospital, clinic, or office, rather than promptly

               providing a copy of the form electronically or by mail; and

              ETASU A (Prescriber Certification), only to the extent it requires clinicians seeking

               to prescribe mifepristone to attest that they will (1) obtain the patient’s physical

               signature on the Patient Agreement Form, rather than obtaining the patient’s

               signature remotely through technology or documenting the patient’s oral consent

               in the patient’s record; (2) present the patient with a copy of the form at the hospital,

               clinic, or office, rather than promptly providing a copy of the form electronically

               or by mail; (3) place in the patient’s medical record a copy of the form containing




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          the patient’s physical signature, rather than placing a copy of the form signed

          remotely through technology or documenting the patient’s oral consent in the

          patient’s record; (4) record the serial number of the mifepristone package in the

          patient’s record in cases where the patient obtains the mifepristone through a

          pharmacy; and (5) comply with any reporting requirements by reference to the

          serial number from the mifepristone package in cases where the patient obtains the

          mifepristone through a pharmacy.

   128.   Award to Plaintiffs costs, expenses, and attorneys’ fees pursuant to 28 U.S.C. §

          2412; and

   129.   Award such other, further, and different relief as the Court deems just and proper.




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 Dated: May 27, 2020                              Respectfully submitted,

                                                   /s/ John A. Freedman

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document will be served on the Defendants in accordance with

Fed. R. Civ. P. 4.



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